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                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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     _______________________________________
 8                                          )
     UNITED STATES OF AMERICA,              )              No. CR06-26RSL
 9                                          )
                           Plaintiff,       )
10              v.                          )              ORDER DENYING DEFENDANT’S
                                            )              MOTION TO SEAL TRANSCRIPT OF
11   TEWOLDEBERHAN MEKONNEN,                )              SENTENCING HEARING
                                            )
12                         Defendant.       )
     _______________________________________)
13
14                This matter comes before the Court on defendant’s “Motion to Seal Transcript of
15   Sentencing Hearing”, docket #294. The Court finds no good cause to seal the transcript.
16                IT IS HEREBY ORDERED that the motion is denied.
17
18                DATED this 28th day of February, 2007.
19
20                                                         A
                                                           Robert S. Lasnik
21                                                         United States District Judge
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     ORDER DENYING DEFENDANT’S MOTION TO SEAL TRANSCRIPT OF SENTENCING HEARING
